Case 3:99-cr-00042-JPB Document 454 Filed 04/12/06 Page 1 of 8 PageID #: 1366




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


MICHAEL WAYNE SHIFFLETT,

                      Petitioner,

       v.                                                            Civil no. 3:05-cv-60
                                                                     Crim no. 3:99-cr-42(6)
                                                                     (Judge Broadwater)

UNITED STATES OF AMERICA,

                      Respondent.

                            REPORT AND RECOMMENDATION

       On June 16, 2005, the pro se petitioner filed a Motion Under 28 U.S.C. § 2255 to

Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody. On July 25, 2005, I

determined that summary dismissal of the petition was not warranted and directed the respondent

to file an answer. Petitioner filed a brief in support of his § 2255 motion and the respondent

subsequently filed an answer. This case is before me for an initial review and report and

recommendation pursuant to LR PL P 83.01, et seq.

                                     I. Procedural History

A Conviction and Sentence

       Petitioner was indicted in the United States District Court for the Northern District of

West Virginia on August 19, 1999. On October 13, 1999, petitioner pled guilty to distributing

crack cocaine in violation of Title 21 U.S.C. § 841(a)(1). On January 5, 2000, petitioner was

sentenced to a term of imprisonment of 151 months.

B. Direct Appeal

       Petitioner did not file a direct appeal of his conviction and sentence.
Case 3:99-cr-00042-JPB Document 454 Filed 04/12/06 Page 2 of 8 PageID #: 1367




C. First Federal Habeas Corpus

       On July 27, 2000, petitioner filed his first Motion Under 28 U.S.C. §2255 to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody. The respondent was directed to file

a response to the motion, and did so on October 12, 2000. Petitioner filed a traverse to the

respondent’s response on October 31, 2000. Petitioner’s § 2255 motion was denied on

November 20, 2000.

       On February 23, 2001, petitioner filed a notice of appeal. The Fourth Circuit dismissed

petitioner’s appeal on May 31, 2001.

D. Other Collateral Proceedings

       On February 13, 2004, petitioner filed a motion for modification of sentence in this

Court. The United States filed a response on March 11, 2004. Petitioner also filed a motion for

a downward departure on March 31, 2004. On September 20, 2004, and November 15, 2004 the

Court conducted hearings on the petitioner’s motions. By Order dated April 4, 2005, this Court

granted petitioner’s motion for a reduction in sentence and imposed a term of 121 months

incarceration. Consequently, the Court issued an Amended Judgment Order on April 6, 2005.

Petitioner did not appeal his amended sentence.

E. Second Federal Habeas Corpus

       Shifflett’s Contentions

       On June 16, 2005, petitioner initiated this case under § 2255. In the petition, and the

brief in support, petitioner asserts the following grounds for relief:

       (1) his sentence is unconstitutional in light of the Supreme Court’s decision in United

States v. Booker, 543 U.S. 220 (2005), because


                                                  2
Case 3:99-cr-00042-JPB Document 454 Filed 04/12/06 Page 3 of 8 PageID #: 1368




                (a) the federal sentencing guidelines are unconstitutional; and

                (b) his sentence was enhanced by factors not considered by a jury;

       (2) counsel was ineffective for not objecting to the unconstitutional enhancement;

       (3) the Court improperly double-counted the number of pills in determining relevant

conduct; and,

       (4) counsel was ineffective for not objecting to the double-counting.

       Government’s Response

       In its response to the motion, the respondent asserts that petitioner’s § 2255 motion

should be denied because

       (1) the second § 2255 motion does not set forth new issues that originated at the time of

re-sentencing, therefore, the motion should be dismissed as a second or successive petition;

       (2) petitioner’s re-sentencing occurred after Booker was decided, therefore, his sentence

was not imposed under the mandatory sentencing guidelines and Booker has no bearing on

petitioner’s re-sentencing procedure;

       (3) petitioner waived the issues raised in his second § 2255 motion because he did not file

an appeal of his re-sentencing;

       (4) to the extent that petitioner challenges the legality of his original sentence, Booker is

not retroactive to cases on collateral review;

       (5) the amount of relevant conduct was stipulated by the parties at the Rule 11 plea

hearing, in the original plea agreement, and again at re-sentencing, therefore, it was not

necessary to prove that conduct beyond a reasonable doubt; and,

       (6) counsel was not ineffective for failing to object to the alleged double-counting of


                                                 3
Case 3:99-cr-00042-JPB Document 454 Filed 04/12/06 Page 4 of 8 PageID #: 1369




pills.

                                            II. Analysis

         “A petitioner collaterally attacking his sentence or conviction bears the burden of proving

that his sentence or conviction was imposed in violation of the Constitution or laws of the United

States, that the court was without jurisdiction to impose such a sentence, that the sentence

exceeded the maximum authorized by law, or that the sentence otherwise is subject to collateral

attack. 28 U.S.C. § 2255. A motion collaterally attacking a petitioner’s sentence brought

pursuant to § 2255 requires the petitioner to establish his grounds by a preponderance of the

evidence.” Sutton v. United States of America, 2006 WL 36859 *2 (E.D.Va Jan. 4, 2006).

A. Successive Petition

         To the extent that petitioner asserts claims arising from the original sentence imposed in

January of 2000, those claims should be dismissed as successive. Pursuant to the Antiterrorism

and Effective Death Penalty Act (AEDPA) of 1996, in order to bring a second or successive

habeas petition, the petitioner must first receive authorization from the appropriate court of

appeals. See 28 U.S.C. § 2255. A second or successive motion will only be certified by the

Court of Appeals if it contains (1) newly discovered evidence that would establish by clear and

convincing evidence that no reasonable juror would have found the movant guilty or (2) a new

rule of constitutional law, made retroactive to cases on collateral review by the Supreme Court,

that was previously unavailable. Id.

         Here, petitioner filed a motion with the Fourth Circuit Court of Appeals for authorization

to file a second or successive habeas petition. That motion was denied on March 28, 2003. See

Doc. 304. Accordingly, any claims in the instant case that relate to the original sentence, should


                                                  4
Case 3:99-cr-00042-JPB Document 454 Filed 04/12/06 Page 5 of 8 PageID #: 1370




be dismissed as successive. For that reason, the undersigned will only specifically address those

claims related to petitioner’s re-sentencing.1

B. Ground One

        In ground 1(a), petitioner asserts that his sentence is unconstitutional because the Court

applied the mandatory sentencing guidelines at his re-sentencing. However, as noted by the

respondent, petitioner was resentenced more than three months after Booker was decided. Thus,

the Court was well aware of the Booker decision at that time and did not unconstitutionally apply

the mandatory federal sentencing guidelines to petitioner’s amended sentence. Accordingly,

ground 1(a) should be denied.

        In ground 1(b), petitioner asserts that his sentence was unconstitutionally enhanced by

factors not considered by a jury. However, as noted by the respondent, petitioner’s relevant

conduct was stipulated to in the original plea agreement and again at re-sentencing. Therefore,

there was no need to otherwise prove relevant conduct beyond a reasonable doubt and ground

1(b) should be denied.2

C. Ground Two

        In ground two, petitioner asserts that counsel was ineffective for failing to object to his

unconstitutionally enhanced sentence. However, the undersigned has already determined that

petitioner’s sentence was not unconstitutionally enhanced. Therefore, counsel could not be



        1
          Pursuant to In re Taylor, 171 F.3d 185, 187-188 (4th Cir. 1999), a motion is not second or
successive if the petitioner seeks to raise only issues originating from a re-sentencing hearing. Thus, the
petitioner may seek to vacate an amended sentence without authorization from the court of appeals. Id.
        2
         To the extent that petitioner argues that his original sentence is unconstitutional in light of
Booker, that argument is foreclosed by the Fourth Circuit’s decision in United States v. Morris, 429 F.3d
65 (2005) (finding that Booker has not been made retroactively applicable to cases on collateral review).

                                                     5
Case 3:99-cr-00042-JPB Document 454 Filed 04/12/06 Page 6 of 8 PageID #: 1371




deficient for failing to object and petitioner suffered no prejudice. See Strickland v. Washington,

466 U.S. 668 (1984) (finding that in order to sustain an ineffective assistance of counsel claim,

petitioner must demonstrate that counsel’s representation was deficient, and that, but for that

deficiency, the results of the proceedings would have been different.)

D. Ground Three

         In ground three, petitioner asserts that the Court improperly double-counted the number

of pills in determining relevant conduct. This issue should have been raised on direct appeal and

is waived. See United States v. Frady, 456 U.S. 152 (1982) (“[A] final judgment commands

respect. For this reason, we have long and consistently affirmed that a collateral challenge may

not do service for an appeal.”); see also Bousley v. United States, 523 U.S. 614 (1998) (finding

that the failure to raise a claim on direct appeal may result in a procedural default barring

collateral review).

       “In order to collaterally attack a conviction or sentence based upon errors that could have

been but were not pursued on direct appeal, the movant must show cause and actual prejudice

resulting from the errors of which he complains or he must demonstrate that a miscarriage of

justice would result from the refusal of the court to entertain the collateral attack.” United States

v. Mikalajunas, 186 F.3d 490, 492-493 (4th Cir. 1999). In this case, petitioner has done neither.

E. Ground Four

       In ground four, petitioner asserts that counsel was ineffective for failing to object to the

improper double-counting of pills. However, the respondent notes that the basis for petitioner’s

re-sentencing was an amendment to the sentencing guidelines that lowered the weight attributed

to a pill. Response at 9, n. 3. Because petitioner and his co-defendant’s made similar arguments


                                                  6
Case 3:99-cr-00042-JPB Document 454 Filed 04/12/06 Page 7 of 8 PageID #: 1372




related to this amendment, the hearings on this issue were mostly all inclusive. Id. at 10.

Accordingly, each defendant presented the Court with an assessment of what he or she thought

was the appropriate weight calculation under the amendment. Id. The government also

presented its assessment of the appropriate weights. Id. Not surprisingly, the defendants’

assessments did not match the government’s assessments. Id. As a result, the issue of double-

counting was raised by one of petitioner’s co-defendants. Id. However, the court considered

that argument as to each defendant. Id.

       With regard to the issues of weight and relevant conduct, the Court found that despite the

amendment to the sentencing guidelines, each of the defendants was still bound by his or her

stipulation in the original plea agreements. Id. Therefore, the Probation Office was directed to

conduct an independent calculation of the weights to be attributed to each defendant. Id. The

assessment by the Probation Officer landed in between the positions taken by the parties. Id.

Thus, that assessment was agreed to by the parties and was thereby adopted by the Court. Id.

       With this in mind, the undersigned finds that counsel was not ineffective. Even if

petitioners’ counsel was not the one who objected to the alleged double counting, this failure was

neither deficient nor prejudicial. The objection was made and the issue was considered as to

each defendant. Therefore, there was no need for each defendant’s individual counsel to make

the same objection. Moreover, petitioner cannot prove prejudice as he agreed to the assessment

of the Probation Officer. Because petitioner cannot show that counsel’s performance was either

deficient or prejudicial under Strickland, ground three should be denied.

                                     III. Recommendation

       The undersigned recommends that the Court enter an Order DENYING the petitioner’s


                                                 7
Case 3:99-cr-00042-JPB Document 454 Filed 04/12/06 Page 8 of 8 PageID #: 1373




§ 2255 motion and DISMISSING the case with prejudice.

        Any party may file within ten (10) days after being served with a copy of this

Recommendation with the Clerk of the Court written objections identifying the portions of the

Recommendation to which objections are made, and the basis for such objections. A copy of

such objections should also be submitted to the Honorable W. Craig Broadwater, United States

District Judge. Failure to timely file objections to the Recommendation set forth above will

result in waiver of the right to appeal from a judgment of this Court based upon such

Recommendation.3

        The Clerk of the Court is directed to provide a copy of this Report and Recommendation

to the pro se petitioner and any counsel of record.

        DATED: April 12, 2006.



                                                        /s/ James E. Seibert
                                                        JAMES E. SEIBERT
                                                        UNITED STATES MAGISTRATE JUDGE




        3
          28 U.S.C. § 636(b)(1); United States v. Schronce, 727 F.2d 91 (4th Cir. 1984); Wright v.
Collins, 766 F.2d 841 (4th Cir. 1985); Thomas v. Arn, 474 U.S. 140 (1985).

                                                   8
